        Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 1 of 26



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     STURDY GUN SAFE, INCORPORATED
11

12                                UNITED STATES DISTRICT COURT

13                              EASTERN DISTRICT OF CALIFORNIA

14

15   STURDY GUN SAFE, Incorporated                  Case No.: 18-at-770

16                           Plaintiff,

17                   vs.                            COMPLAINT FOR DECLARATORY
                                                    JUDGMENT OF NON-INFRINGEMENT
18   RHINO METALS, Incorporated,
                                                    DEMAND FOR JURY TRIAL
19                           Defendant.

20
              Plaintiff Sturdy Gun Safe, Incorporated (“Sturdy Safe”), by and through its counsel, files
21
     this Complaint for declaratory judgment of non-infringement (“Complaint”) against Rhino
22

23   Metals, Incorporated (“Rhino”), and states as follows:

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     {01812327.1 }                      1
     _____________________________________________________________________________
                     COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
        Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 2 of 26



 1                                               THE PARTIES
 2            1.     Sturdy Safe is incorporated under the laws of the state of California with a
 3
     principal place of business in Fresno, California. Sturdy Safe is a family-owned business
 4
     founded in 1959 and has been designing, manufacturing and selling gun safes across the country
 5
     since approximately 1980s.
 6

 7            2.     Upon information and belief, Rhino is incorporated under the laws of the state of

 8   Idaho with a principal place of business in Boise, Idaho. Upon information and belief, Rhino did

 9   not begin designing, manufacturing and selling gun safes until approximately 1995. Rhino has a
10
     nationwide presence and does a substantial amount of business in this judicial district. Rhino
11
     operates a highly interactive Internet web site for the purpose of soliciting and transacting sales
12
     with individuals within this judicial district.
13
                                      JURISDICTION AND VENUE
14

15            3.     This is an action for declaratory relief pursuant to Rule 57 of the Federal Rules of

16   Civil Procedure and 28 U.S.C. §§ 2201 and 2202 for the purpose of determining a question of
17   actual controversy.
18
              4.     This Court has jurisdiction over the action pursuant to 28 U.S.C. §§ 1338 (action
19
     arising under an Act of Congress relating to patents and trade dress), 1331 (federal question)
20
     and 1332 (diversity of citizenship).
21
              5.     This Court has both general and specific personal jurisdiction over Rhino by
22

23   virtue of its regular and systematic business contacts with this judicial district. Rhino has a

24   nationwide presence and conducts business in all 50 states, including this judicial district, where
25   it has purposefully availed itself of the privilege of acting in this judicial district, thus invoking
26
     the benefits and protections of its laws.
27

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                     COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
        Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 3 of 26



 1            6.     Venue is proper in this District under 28 U.S.C. 1391(b)-(c) because Rhino
 2   conducts or has regularly conducted business in this judicial district and/or a substantial part of
 3
     the events or omissions giving rise to the claims occurred in this judicial district. Additionally,
 4
     Rhino sent demand letters to Sturdy Safe in this judicial district and threatened to sue Sturdy
 5
     Safe for infringement in this judicial district.
 6

 7                                      FACTUAL BACKGROUND

 8            7.     Founded in 1959, Sturdy Safe is a family-owned business that designs,

 9   manufactures and sells gun safes across the country since approximately the 1980s. It offers
10
     custom-made gun safes and gives customers the option to choose the size, structure, layout,
11
     material, and finishing of the gun safe, with the option to add on other features.
12
              8.     As part of this customization offer, customers may choose from a variety of
13
     finishes, including, for instance: Distressed Metal Finish, Antique Chest Finish, Antique Clear
14

15   Finish, and Old Hollywood Finish (collectively, “Antique Finishes”).

16            9.     Upon information and belief, Rhino, on the other hand, did not begin
17   manufacturing and selling gun safes until approximately 1995.
18
              10.    In a letter from Rhino to Sturdy Safe dated September 11, 2018, Rhino alleges
19
     that Sturdy Safe infringed its trade dress and design patents. Rhino attached copies of its U.S.
20
     Design Patents Nos. D728,189; D744,715; and D774,272 (“Rhino’s Design Patents”). A copy of
21

22   the demand letter and exhibits are attached hereto as Exhibit A (“Demand Letter”).

23            11.    The Demand Letter states that Sturdy Safe’s offer of Antique Finishes violates

24   Rhino’s trade dress.
25            12.    The Demand Letter further states that Sturdy Safe must immediately cease and
26
     desist from any further activities related to gun safes that allegedly infringe on Rhino’s Design
27

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     _____________________________________________________________________________
                     COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
        Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 4 of 26



 1   Patents or its trade dress and that Sturdy Safe must agree to Rhino’s demands; otherwise, Rhino
 2   threatened it would file a federal infringement suit.
 3
             13.     There is no likelihood of confusion between Rhino’s trade dress and Sturdy
 4
     Safe’s trade dress; therefore, there is no trade dress infringement.
 5
             14.     Sturdy Safe’s gun safes also do not infringe upon Rhino’s Design Patents.
 6

 7                                    FIRST CLAIM FOR RELIEF

 8                         (Declaratory Judgment of Trade Dress Noninfringment)

 9           15.     Sturdy Safe hereby incorporates by reference each and every allegation set forth
10
     in the preceding.
11
             16.     This claim arises from an actual and justiciable controversy between the parties
12
     regarding Sturdy Safe’s Antique Finishes based, in part, on Rhino’s Demand Letter and the
13
     representations therein, its self-imposed deadline that Rhino would file infringement suit if
14

15   Sturdy Safe did not agree to Rhino’s demands, and Sturdy Safe’s unequivocal assertion that it

16   did not infringe Rhino’s trade dress.
17           17.     A declaratory judgment would resolve all aspects of the controversy in a single
18
     proceeding.
19
             18.     A declaratory judgment would serve a useful purpose in clarifying the legal
20
     relations at issue.
21

22           19.     There is no likelihood of confusion between Sturdy Safe’s trade dress and

23   Rhino’s trade dress; therefore, Sturdy Safe did not infringe upon Rhino’s trade dress.

24           20.     This judicial declaration is necessary and appropriate at this time in order that
25   Sturdy Safe may ascertain its rights and duties with respect to its offering of Antique Finishes.
26
                                     SECOND CLAIM FOR RELIEF
27
                   (Declaratory Judgment of Design Patent Noninfringement)
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     _____________________________________________________________________________
                    COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
        Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 5 of 26



 1            21.      Sturdy Safe hereby incorporates by reference each and every allegation set forth
 2   in the preceding paragraphs.
 3
              22.    This claim arises from an actual and justiciable controversy between the parties
 4
     regarding Sturdy Safe’s gun safes based, in part, on Rhino’s Demand Letter and the
 5
     representations therein, its self-imposed deadline that Rhino would file infringement suit if
 6

 7   Sturdy Safe did not agree to Rhino’s demands, and Sturdy Safe’s unequivocal assertion that it

 8   did not infringe Rhino’s Design Patents.

 9            23.    A declaratory judgment would resolve all aspects of the controversy in a single
10
     proceeding.
11
              24.    A declaratory judgment would serve a useful purpose in clarifying the legal
12
     relations at issue.
13
              25.    Sturdy Safe does not infringe Rhino’s Design Patents, directly or indirectly,
14

15   either literally or by the doctrine of equivalence.

16            26.    This judicial declaration is necessary and appropriate at this time in order that
17   Sturdy Safe may ascertain its rights and duties with respect to the design of its gun safes.
18
                                          PRAYER FOR RELIEF
19
              WHEREFORE, Plaintiff Sturdy Safe prays for the following relief:
20
              1.     That proper process issue and be served upon Rhino;
21
              2.     That Rhino be required to answer;
22

23            3.     That the Court declare that Sturdy Safe’s trade dress does not infringe Rhino’s

24   trade dress;
25            4.     That the Court declare that Sturdy Safe’s gun safes do not infringe Rhino’s
26
     Design Patents;
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                     COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
        Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 6 of 26



 1            5.     That Rhino be ordered to pay Sturdy Safe’s costs and reasonable attorneys’ fees,
 2   plus pre- and post-judgment interest, as provided or allowed by law; and
 3
              6.     That the Court grant Sturdy Safe such other and further relief as the Court may
 4
     deem just and proper.
 5

 6
     Dated: October 19, 2018
 7
                                                   Respectfully submitted,
 8

 9

10                                                 By: ____________________________________
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22                                                 STURDY GUN SAFE, INCORPORATED

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                     COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 7 of 26




                    EXHIBIT A
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 8 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 9 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 10 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 11 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 12 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 13 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 14 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 15 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 16 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 17 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 18 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 19 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 20 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 21 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 22 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 23 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 24 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 25 of 26
Case 1:19-cv-00063-DCN Document 2 Filed 10/19/18 Page 26 of 26
